                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION - DETROIT


 In Re: STEPHEN COLLIAS                                      Ch 13
                                                             Case # 17-46407
                                                             Judge: Marci B. McIvor
                         Debtor
 __________________________________/


                             CERTIFICATE OF SERVICE

 I hereby certify that on August 02, 2017, I served a copy of the Order Confirming Plan by
 enclosing the same in an envelope with first class postage fully prepaid, addressed to the
 following:

 STEPHEN COLLIAS and,

 Creditors as they appear on the attached pacer printed matrix

 Dated: June 05, 2019
                                                             /s/ Lori Reinwasser
                                                             Lori Reinwasser
                                                             Kallabat & Associates, PC
                                                             31000 Northwestern Hwy.,
                                                             Suite 201
                                                             Farmington Hills, MI 48334
                                                             ecf@kallabatlaw.com




17-46407-mbm      Doc 71     Filed 06/05/19     Entered 06/05/19 14:15:32       Page 1 of 3
Label Matrix for local noticing                   Ally Bank                                      Ally Financial Lease Trust
0645-2                                            PO Box 130424                                  PO Box 130424
Case 17-46407-mbm                                 Roseville MN 55113-0004                        Roseville MN 55113-0004
Eastern District of Michigan
Detroit
Wed Jun 5 14:12:37 EDT 2019
Blue Cross Blue Sheild                            Capital One                                    Stephen Konstantine Collias
PO Box 321065                                     PO Box 6492                                    17310 Beechwood
Detroit, MI 48232-1065                            Carol Stream, IL 60197-6492                    Beverly Hills, MI 48025-5522



Credit One Bank                                   Detroit Medical Center                         First Premier Bank
P.O. Box 98873                                    Detroit Receiving                              PO Box 5524
Las Vegas, NV 89193-8873                          Dept. 641450                                   Sioux Falls, SD 57117-5524
                                                  PO Box 67000
                                                  Detroit, MI 48267-0002

Joel E. Grand                                     Grand & Grand                                  IRS
31731 Northwestern Hwy                            31731 Northwestern Highway                     Centralized Insolvency Operation
Suite 151                                         Suite 115                                      PO Box 7346
Farmington Hills, MI 48334-1662                   Farmington Hills, MI 48334-1601                Philadelphia, PA 19101-7346


John Henke                                        Johnson Matrix Fitness System Corp.            John Z. Kallabat
29800 Telegraph Rd                                1610 Landmark Drive                            31000 Northwestern Highway
Southfield, MI 48034-1338                         Cottage Grove, WI 53527-8967                   Suite 201
                                                                                                 Farmington Hills, MI 48334-2595


LVNV Funding, LLC its successors and assigns      LVNV Funding, LLC its successors and assigns   LVNV Funding, LLC its successors and assigns
assignee of Citi Held for Asset                   assignee of FNBM, LLC                          assignee of Prosper Funding LLC
Issuance 2015-PM2                                 Resurgent Capital Services                     Resurgent Capital Services
Resurgent Capital Services                        PO Box 10587                                   PO Box 10587
PO Box 10587                                      Greenville, SC 29603-0587                      Greenville, SC 29603-0587
Greenville, SC 29603-0587
LVNV Funding, LLC its successors and assigns      O’Reilly Rancillio P.C.                        Pawnee Leasing
PO Box 10587                                      12900 Hall Road                                3801 Automation Way
Greenville, SC 29603-0587                         Suite 350                                      Suite 207
                                                  Sterling Heights, MI 48313-1174                Fort Collins, CO 80525-5735


(p)PORTFOLIO RECOVERY ASSOCIATES LLC              Premier Bankcard, Llc                          Prosper
PO BOX 41067                                      Jefferson Capital Systems LLC Assignee         221 Main Street
NORFOLK VA 23541-1067                             Po Box 7999                                    Suite 300
                                                  Saint Cloud Mn 56302-7999                      San Francisco, CA 94105-1909


Prosper Marketplace Inc.                          David Wm Ruskin                                US Attorney
C/O WEINSTEIN & RILEY, PS                         26555 Evergreen Rd Ste 1100                    211 West Fort Street
2001 WESTERN AVENUE, STE 400                      Southfield, MI 48076-4251                      Suite 2300
SEATTLE, WA 98121-3132                                                                           Detroit, MI 48226-3269


US Reif 325 North Old Woodward Michigan, LLC
30100 Telegraph Rd, Ste 366
Bingham Farms, MI 48025-5800

                 17-46407-mbm            Doc 71    Filed 06/05/19           Entered 06/05/19 14:15:32      Page 2 of 3
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Portfolio Recovery Associates, LLC
POB 12914
Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)US Reif 325 North Old Woodward Michigan, L        End of Label Matrix
30100 Telegraph Rd, Ste 366                          Mailable recipients    27
Bingham Farms, MI 48025-5800                         Bypassed recipients     1
                                                     Total                  28




                 17-46407-mbm            Doc 71       Filed 06/05/19         Entered 06/05/19 14:15:32              Page 3 of 3
